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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION




  DEFENSE DISTRIBUTED and SECOND                   )
  AMENDMENT FOUNDATION, INC.,                      )
                                                   )
                Plaintiffs,                        )
                                                   )
                        vs.                        )
                                                   )
  GURBIR GREWAL, in his official capacity as       )
  the State of New Jersey’s Attorney General, et   )
  al.,                                             )
                                                   )   Case No. 1:18-CV-637
                Defendants.




      DEFENDANTS GURBIR S. GREWAL AND MATTHEW DENN’S REPLY
     MEMORANDUM IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS
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       DEFENDANTS GURBIR S. GREWAL AND MATTHEW DENN’S REPLY
      MEMORANDUM IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS

        The New Jersey Attorney General, Gurbir S. Grewal (the “NJAG”), and the Delaware

 Attorney General, Matthew Denn (the “DAG”), respectfully submit this reply memorandum in

 further support of their November 21, 2018 motion to dismiss Plaintiffs’ First Amended

 Complaint (Dkt. 57, hereinafter the “Motion to Dismiss”).

                                  PRELIMINARY STATEMENT

        Plaintiffs’ December 12, 2018 opposition to the Motion to Dismiss (“Opp.”) sets forth

 specious arguments for claiming personal jurisdiction over the NJAG and the DAG —

 arguments this Court should now summarily reject. First, their suggestion that the NJAG and the

 DAG are somehow “judicially estopped” from challenging jurisdiction here, based on their

 ongoing participation in the Washington Action, is nonsensical on its face. Opp. at 7. The

 NJAG and the DAG have obviously never taken the position in the Washington Action that

 jurisdiction attaches over themselves, as defendants, in Texas.

        Second, Plaintiffs completely misconstrue the Supreme Court’s “purposeful availment”

 standard, and cite no support for their novel contention that an out-of-state governmental

 authority can be hauled into court wherever the effects of its law enforcement activities are felt.

 The Fifth Circuit’s Stroman Realty decision, which establishes exactly the opposite, controls here

 instead.

        Plaintiffs likewise fail to articulate any basis for this Court’s subject matter jurisdiction.

 The First Amended Complaint (“FAC”) is, in fact, almost entirely concerned with Plaintiffs’

 inability to publish their 3D printable firearm files on the internet — an activity Plaintiffs

 concede is encompassed by the Washington Court’s in-force preliminary injunction. See Opp. at

 7; Washington, et al. v. U.S. Dep’t of State, et al., 318 F. Supp. 3d 1247, 1264 (W.D. Wash.


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 2018) (the “Washington Action”). As for any non-internet-based activity — including the non-

 internet activities alleged in Plaintiffs’ two Temporary Restraining Order (“TRO”) motions —

 this Court has already held, twice, that the Pullman abstention doctrine dictates that this Court

 not address those activities. See Order Denying TRO, Dkt. 53, at 3-4; Order Denying TRO, Dkt.

 69, at 3-5.

          Finally, Plaintiffs have not shown that their 3D printable firearms files are in fact

 protected speech. But, even if they were, the NJAG’s and the DAG’s law enforcement activities

 still pass muster under the then-applicable “intermediate scrutiny” standard. See Defense

 Distributed, et al. v. U.S. Dep’t of State, et al., 121 F. Supp. 3d 680, 693 (W.D. Tex. 2015).

 Plaintiffs also fail to respond at all to the NJAG and the DAG’s arguments with respect to the

 dormant Commerce Clause and Plaintiffs’ tortious interference claims. See Motion to Dismiss at

 18-20.

          Accordingly, Plaintiffs’ claims here against the NJAG and the DAG should be dismissed,

 or in the alternative, transferred to a proper venue.

                                             ARGUMENT

 I.       Plaintiffs’ Personal Jurisdiction Arguments are Frivolous

          Plaintiffs advance a series of fatally flawed arguments in their attempt to manufacture

 personal jurisdiction over the NJAG and the DAG in this Court. See Opp. at 8-14. But, the

 necessary minimum contacts with Texas required by controlling precedents simply do not exist

 here. To the contrary, the only contact with Texas alleged in the FAC — the transmission of

 cease-and-desist letters to Defense Distributed — was concerned with enforcing New Jersey and

 Delaware law, and therefore cannot establish personal jurisdiction over the NJAG and the DAG

 in Texas. See Stroman Realty, Inc. v. Wercinski, 513 F.3d 476, 480-84 (5th Cir. 2008) (out-of-

 state official did not “‘purposely avail[]’ herself of the benefits of Texas law” where her alleged

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 misconduct merely involved enforcing her own state’s law and, as here, her sole contact with

 Texas was the issuance of a cease-and-desist letter to a Texas resident).

        Plaintiffs nonetheless argue, first, that the NJAG and the DAG are somehow judicially

 estopped from challenging personal jurisdiction here based on their own jurisdictional

 allegations against Plaintiff Defense Distributed in the complaint in the Washington Action. See

 Opp. at 8-10. This argument is a non-starter, however, because the doctrine of judicial estoppel

 applies only when a party “assume[s] a contrary position” to a position successfully taken in a

 different proceeding. Id. at 8; New Hampshire v. Maine, 532 U.S. 742, 742-43 (2001) (emphasis

 added). Here, the NJAG and the DAG’s position in the Washington Action — that Defense

 Distributed has sufficient contacts with the state of Washington, see Washington Action Dkt. 29

 at ¶ 13 — is by no means “contrary” to the wholly unrelated proposition that the NJAG and DAG

 lack minimum contacts with Texas.

        Any jurisdictional due process analysis obviously focuses on whether the defendant has

 minimum contacts with the forum state. See Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

 (1945). Here, the NJAG and the DAG have never taken the “contrary” position that the matters

 at issue do, in fact, confer jurisdiction over them in Texas. See In re Atrium Med. Corp. C-Qur

 Mesh Prods. Liab. Litig., 299 F. Supp. 3d 324, 330 (D.N.H. 2017) (judicial estoppel did not bar

 defendant’s personal jurisdiction defense where defendant had not persuaded courts in related

 actions to exercise personal jurisdiction over it). There is thus no judicial estoppel here.

        Plaintiffs next assert that, under a Fifth Amendment analysis, they need only establish

 that the NJAG and the DAG have “minimum contacts with the Nation as a whole — not just

 Texas.” Opp. at 11 n.6. But that nationwide jurisdiction analysis applies only when a federal

 statute provides the basis for personal jurisdiction — which is certainly not the case here. See

 Republic of Pan. v. BCCI Holdings (Lux.) S.A., 119 F.3d 935, 942 (11th Cir. 1997); United Rope
                                                   3
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 Distribs. v. Seatriumph Marine Corp., 930 F.2d 532, 534-35 (7th Cir. 1991) (finding no personal

 jurisdiction over defendant, despite “these national contacts,” where the federal statute at issue

 did “not authorize service of process”). With no federal statute providing a basis for personal

 jurisdiction here, only the NJAG and DAG’s contacts with Texas are relevant to the Court’s

 personal jurisdiction inquiry. Those contacts are insufficient.

        Plaintiffs’ other attempts to conjure up minimum contacts with Texas fare no better. Opp.

 at 11-13. Each flies in the face of well-established Supreme Court and Fifth Circuit

 jurisprudence holding that (1) “purposeful availment” of the privilege of conducting activities in

 the forum state involves “commercial, profit-oriented enterprise,” e.g., Stroman Realty, 513 F.3d

 at 484-85 (citing Kulko v. Superior Court, 436 U.S. 84 (1978); (emphasis added)), and (2) the

 locus of the “effects” of a defendant’s alleged conduct is irrelevant unless that conduct was

 aimed at the forum in a meaningful way, see id. at 486; Walden v. Fiore, 571 U.S. 277, 290

 (2014). The decisions cited by Plaintiffs are all consistent with these principles; indeed, none

 found jurisdiction over an out-of-state governmental authority attempting to enforce its own

 state’s law to protect its own citizens. See Opp. at 11-13.1

        As for Plaintiffs’ appeal to the “nationwide” nature of the injunction in the Washington

 Action, that proves too much. See Opp. at 12. It instead undercuts the very notion that the


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   In J. McIntyre Mach., Ltd. v. Nicastro, the Supreme Court declined to find personal jurisdiction
 over a foreign manufacturer who had no office in the forum state, paid no taxes and owned no
 property there, did not specifically advertise there, and did not have employees there. 564 U.S.
 873, 877-87 (2011). In Walden v. Fiore, the Supreme Court held that the defendant police
 officer’s conduct was not directed at the forum state (and therefore did not satisfy the minimum
 contacts requirement) simply because he directed his conduct at plaintiffs whom he knew had
 connections with the forum state. 571 U.S. at 289. The court noted that plaintiffs’ reasoning
 “improperly attributes a plaintiff’s forum connections to the defendant,” id. —precisely what
 Plaintiffs are attempting to do here. Plaintiffs’ references to their alleged publication of
 materials at a public library and to the NJAG’s letters to Defense Distributed’s internet service
 providers do not change this analysis. See Opp. at 13.

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 NJAG and DAG’s conduct was directed at Texas in particular, or that they sought to “change

 Texas law”, or “literally becom[e] governing officials of Texas[.]” See id. at 11-12; see also J.

 McIntyre Mach., Ltd., 564 U.S. at 880-87 (rejecting jurisdiction based on defendant’s nationwide

 product distribution system where defendant did not otherwise manifest an intention to benefit

 from or submit to the laws of the forum state).

        Finally, there is no basis for permitting Plaintiffs to conduct “jurisdictional discovery”

 here into a purported relationship with the three firearm safety groups that unsuccessfully sought

 to intervene in the prior proceeding before thus Court. See Opp. at 14. The FAC contains no

 allegations of any relationship between those groups and the NJAG or the DAG, let alone an

 agency relationship arguably sufficient to establish impute jurisdiction. See FAC ¶¶ 43-45; Trois

 v. Apple Tree Auction Ctr., Inc., 882 F.3d 485, 491 (5th Cir. 2018).2 More importantly, the FAC

 does not include any claims against these groups, nor are they parties to this action. The FAC

 only alleges that they sought to block the Settlement Agreement, but were not permitted to

 intervene. FAC ¶ 45. It therefore strains credulity to suggest that jurisdiction over the NJAG

 and the DAG exists because of these three non-parties.

 II.    Plaintiffs’ Arguments Concerning Subject Matter Jurisdiction Are Unavailing

        Plaintiffs cite cases from other jurisdictions for the proposition that “the threat of

 punishment delivered by [the NJAG’s and DAG’s] cease and desist letters confers standing.”

 Opp. at 4. Even if that were the law in the Fifth Circuit — and it’s not — Plaintiffs still miss the

 mark. As discussed previously in the Motion to Dismiss, the FAC itself alleges that Defense

 Distributed ceased dissemination of its 3D printable firearms files only after the Washington

 Court issued a temporary restraining order on July 31, 2018. See Motion to Dismiss at 11-12.

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  Nor is the unsupported suggestion of “some kind of cooperation” between the NJAG and the
 groups sufficient for these purposes. See Opp. at 14 n.8.

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 That fact alone is fatal to any assertion by Plaintiffs that their alleged injury is “fairly traceable to

 the challenged action” of the NJAG and the DAG. See Lujan v. Defenders of Wildlife, 504 U.S.

 555, 560 (1992).

         Plaintiffs nonetheless go to great lengths attempting to argue that the preliminary

 injunction entered in the Washington Action does not deprive them of standing to bring the

 instant action. See Opp. 5-8. Those arguments are unavailing for two reasons, however. First,

 the clear gravamen of the FAC is that Defendants, including the NJAG and the DAG, have,

 through that injunction, prevented Plaintiffs from publishing their 3D printable firearms files on

 the internet. See, e.g., FAC ¶ 3 (“Defense Distributed desires and intends to resume its

 publication of these files on the internet . . . . But the Defendants forced Defense Distributed to

 stop publishing the files on the internet.); ¶¶ 53-62 (describing Plaintiffs’ activities, the NJAG’s

 and DAG’s response, and the Washington Action). Indeed, Plaintiffs concede that the

 Washington Court’s injunction encompasses the internet publication of Plaintiffs’ digital

 firearms information. See Opp. at 7; Washington Action at 1264 (“Regulation under the AECA

 means that the files cannot be uploaded to the internet . . . .”). In support of their purported right

 to publish their files on the internet, Plaintiffs in fact made the same First Amendment-related

 arguments before the Washington Court that they make here. E.g., Private Defendants’ Brief in

 Opposition to Plaintiff States’ Motion for a Preliminary Injunction, dated Aug. 15, 2018, at 13-

 17.

         Therefore, even crediting Plaintiffs’ assertion that their inability to publish their files to

 the internet initially stemmed from the NJAG’s and the DAG’s cease-and-desist letters, Opp. at

 6-7, the indisputable fact remains that Plaintiffs’ right to publish their 3D printable firearms files

 on the internet was squarely before the Washington Court, and the Washington Court enjoined

 such publication. As a direct result then, there is now no live “case or controversy” before this
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 Court. See Already, LLC v. Nike, Inc., 568 U.S. 85, 90-91 (2013) (an “‘actual controversy’ must

 exist not only ‘at the time the complaint was filed,’ but through ‘all stages’ of the litigation.”).3

         Second, because dissemination of Plaintiffs’ 3D printable firearms files to the internet is

 not currently a legally protected interest, see Motion to Dismiss at 8-10, Plaintiffs have to allege

 some other redressable injury to establish standing — yet the FAC alleges no such thing. Nor do

 the FAC’s fleeting references to Defense Distributed’s publication of firearms information “at a

 public library” specify whether such publication is internet-based or not, see, e.g., FAC ¶¶ 11,

 53, or allege any injury to its library-based activity, apparently a one-time event that has already

 occurred. While Plaintiffs’ motions for a temporary restraining order and preliminary injunction

 describe various additional non-internet-based activities allegedly affected by the NJAG’s

 enforcement of its state’s new firearm regulation, such as participating in trade shows, Dkt. 66 at

 6-7; Dkt. 67 at 8-9, 22, this Court has already determined that it ought not decide any asserted

 Constitutional questions relating to those activities on the basis of the Pullman abstention

 doctrine. See Dkt. 53 at 3-4; Dkt. 69 at 3-5; Dkt. 78 at 5. In any event, those additional activities

 are not alleged in the FAC to have been a target of the NJAG’s or the DAG’s law enforcement

 efforts, or to have been a subject of their cease-and-desist letters or letters to internet service


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   Relatedly, as the Supreme Court explained in Celotex, litigants cannot collaterally attack the
 ruling of one court by filing, on the same factual basis, an action in another court that would
 decide the same issues. Celotex Corp. v. Edwards, 514 U.S. 300, 313 (1995) (respondents chose
 not to appeal to the district court in which the bankruptcy judge in the original action was
 serving, “but instead to collaterally attack [the bankruptcy court’s injunction] in the federal
 courts in Texas. This they cannot be permitted to do without seriously undercutting the orderly
 process of the law.”); see also Miller v. Meinhard-Commercial Corp., 462 F.2d 358, 360-61 (5th
 Cir. 1972) (court refused to hear proceeding where subject matter was the same as in a separate
 bankruptcy proceeding in a different district, because to do so “would be in effect to reopen the
 bankruptcy proceedings and retry the merits in a collateral proceeding.”). Therefore, this Court,
 to the extent it would be effectively retrying the issues that the Washington Court has already
 decided and which can only be appealed to the Ninth Circuit, lacks jurisdiction to decide the
 instant case.

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 providers (the allegations which form the basis of Plaintiffs’ causes of action against the NJAG

 and the DAG).

        For all of these reasons, Plaintiffs’ have not alleged a concrete and particularized injury

 to a legally protected interest that is likely to be redressed by a favorable decision of this Court.

 See Lujan, 504 U.S. at 560-61.

 III.   Plaintiffs’ Opposition Fails to Save their Constitutional and Tortious Interference
        Claims

        Plaintiffs’ arguments that their 3D printable firearms files constitute protected speech,

 and that any regulation of that “speech” must satisfy “strict scrutiny” are untenable. See Opp. at

 16-19. None of the cases Plaintiffs cite as “controlling” precedents mandate the conclusion that

 these files are speech protected by the First Amendment. Two of the cases cited do not even

 concern computer code: Sorrell dealt with pharmacy records and Bartnicki dealt with a taped

 telephone conversation. Sorrell v. IMS Health Inc., 564 U.S. 552 (2011); Bartnicki v. Vopper,

 532 U.S. 514 (2001). Universal City Studios, Inc. v. Corley, which did deal with computer code,

 held only that “instructions that communicate information comprehensible to a human qualify as

 speech whether the instructions are designed for execution by a computer or a human (or both).”

 273 F.3d 429, 448 (2d Cir. 2001) (emphasis added).

        The FAC does not allege that Plaintiffs’ 3D printable firearms files communicate such

 information. See FAC ¶¶ 30-34. Nor did the Fifth Circuit weigh in on this issue in Defense

 Distributed I. See Defense Distributed v. U.S. Dep’t of State, 838 F.3d 451, 461 (5th Cir. 2016)

 (“This case presents a number of novel legal questions, including whether the 3D printing . . .

 files at issue here may constitute protected speech under the First Amendment . . . we take no

 position on the ultimate outcome other than to agree with the district court that it is not yet time

 to address the merits.”).


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        But even assuming that the 3D printable firearms files at issue here were protected

 speech, there is no basis for requiring a “strict scrutiny” analysis. See Opp. at 18-19. As this

 Court correctly acknowledged in Defense Distributed I, the Supreme Court has held that

 regulations are “content-neutral,” and therefore subject only to “intermediate scrutiny,” where

 they are aimed at “secondary effects” of a particular message. Defense Distributed, 121 F. Supp.

 at 693. The Fifth Circuit has likewise found regulations “aimed not at suppressing a message,

 but at other ‘secondary effects,’” to be content-neutral, “even where the regulation governed a

 specific topic of speech.” Id.

        Under such “intermediate scrutiny,” “a court must sustain challenged regulations ‘if they

 further an important or substantial governmental interest; if the governmental interest is

 unrelated to the suppression of free expression; and if the incidental restriction on alleged First

 Amendment freedoms is no greater than is essential to the furtherance of that interest.’” Id.

 (citing Time Warner Cable, Inc. v. Hudson, 667 F.3d 630, 641 (5th Cir. 2012)). Here, the

 complained-of law enforcement activity should be sustained because it was content-neutral and

 plainly undertaken to protect the safety and health of the citizens of New Jersey and Delaware.

 See FAC Ex. E and H (the NJAG’s and the DAG’s cease-and-desist letters referencing concern

 for the safety of citizens of New Jersey and Delaware).

        Plaintiffs’ responses to the other Constitutional arguments raised by the NJAG and the

 DAG in their Motion to Dismiss, see Opp. at 19-20, fare no better. They make no attempt, for

 example, to show a colorable claim under the dormant Commerce Clause. To the contrary,

 Courts have repeatedly upheld firearm regulations that incidentally burden interstate commerce.

 See Motion to Dismiss at 18-19 (citing, inter alia, N.Y. State Rifle & Pistol Ass’n v. City of New

 York, 883 F.3d 45 (2d Cir. 2018)). Nor have Plaintiffs bothered to respond to the NJAG and the

 DAG’s arguments that claims have not been stated here for tortious interference with the
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 Settlement Agreement or with contracts with internet service providers. See Motion to Dismiss

 at 20.

                                           CONCLUSION

          For the reasons set forth in the opening brief and herein, Plaintiffs’ FAC should be

 dismissed as to the NJAG and the DAG, or in the alternative, should be transferred.

 DATED: December 21, 2018



                                       Respectfully submitted,

                                                  Pillsbury Winthrop Shaw Pittman LLP

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 21, 2018, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system which will send notification of such filing to all

 counsel of record.



                                             /s/ Casey Low
                                             Casey Low




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